                        Case
                         Case7:24-cv-00256-CS
                               7:24-cv-00256 Document
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                                                           Filed
                                                               01/12/24
                                                                 01/16/24Page
                                                                          Page1 of
                                                                                1 of
                                                                                   22

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                              for the
                                                 Southern District of New York   [:]

                          JAZE LTD.,                            )
                                                                )
                                                                )
                                                                )
                            Pla intiff(s)                       )
                                 V.                             )       Civil Action No. 7:24-cv-256
                                                                )
               CHARLIE DUNCAN GREEN
                                                                )
                                                                )
                                                                )
                                                                )
                          Defendant(s)                          )

                                                SUMMONS IN A CIVIL ACTION

To.. (Defendants, name and address) Charlie Duncan Green
                                    1098 E Regent Dr.
                                    Golbert, AZ 85298.




          A lawsuit has been filed against you.

        Within 21 days after service of this summons on you (not counting the day you received it)-or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3)-you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are:
                                Michael Lee (ML5346)
                                Lee Law PLLC
                                57 West 38th Street, 11th Floor
                                New York, NY 10018
                                Telephone: (212) 621-8239


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                          CLERK OF COURT


Date:             1/26/2024                                                             /s/ P. Canales
                                                                                       Signature of Clerk or Deputy Clerk
Case
 Case7:24-cv-00256-CS
       7:24-cv-00256 Document
                      Document4 5Filed
                                   Filed
                                       01/12/24
                                         01/16/24Page
                                                  Page2 of
                                                        2 of
                                                           22
